






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00156-CV






In re Gabriella Torres






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY




M E M O R A N D U M   O P I N I O N



		Gabriella Torres filed a petition for writ of mandamus, complaining that the trial court
abused its discretion by granting a continuance of a hearing on a final protective order.  Torres
applied for and the trial court granted her a temporary ex parte protective order on February 27, 2012.
In that order, the trial court set a hearing on a final protective order for March 8, 2012, but on
March&nbsp;8 granted the real party in interest's motion for continuance of the hearing.  The court reset
the hearing for March 21, 2012, but also granted Torres a 20-day extension of the temporary
protective order to March 28, 2012.  Torres asserted in her petition for writ of mandamus--filed
March 21, 2012--that the trial court improperly delayed the hearing on the final order beyond
fourteen days after the application for protective order was filed.  See Tex. Fam. Code Ann.
§&nbsp;84.001(a) (West 2008) (absent circumstances applicable to certain district courts, not the
county&nbsp;court-at-law here, "the court may not set a date later than the 14th day after the date the
application is filed").  Torres requested that this court vacate the order granting the continuance.

		Torres's petition is moot.  Her core contention in this petition is that she was entitled
to a hearing no later than March 12, 2012.  The date she filed this petition, March 21, 2012, the
trial&nbsp;court held the desired hearing and signed a Final Protective Order.  The trial court has since
signed an Agreed Modified Final Protective Order that will be in effect until March 20, 2014.  This
Court cannot order any meaningful relief to Torres on the petition presented.

		Torres asserts exceptions under which we could still consider the issues she raises.
See Williams v. Lara, 52 S.W.3d 171, 184 (Tex. 2001) (capable-of-repetition exception); University
Interscholastic League v. Buchanan, 848 S.W.2d 298, 304 (Tex. App.--Austin 1993, no writ)
(public-interest exception).  We are not persuaded that the circumstances presented invoke those
exceptions.

		We dismiss this petition for writ of mandamus as moot.


						&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Filed:   April 4, 2012


